

People v Eweka (2021 NY Slip Op 01490)





People v Eweka


2021 NY Slip Op 01490


Decided on March 11, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 11, 2021

Before: Webber, J.P., Kern, Scarpulla, Mendez, JJ. 


Ind No. 3593/17 Appeal No. 13324 Case No. 2018-03416 

[*1]The People of the State of New York, Respondent,
vShaheem Eweka, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Hunter Haney of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alexander Michaels of counsel), for respondent.



Judgment, Supreme Court, New York County (Guy Mitchell, J. at plea; Gayle Roberts, J. at sentencing), rendered September 12, 2018, convicting defendant of attempted robbery in the second degree, and sentencing him to a term of two years, with two years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of waiving all surcharges and fees imposed at sentencing, and otherwise affirmed.
We perceive no basis for reducing the sentence. Based on the People's consent as a matter of prosecutorial discretion, and pursuant to our own interest of justice powers, we waive the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 11, 2021








